         Case 1:25-cv-00449-LJL                 Document 51           Filed 02/03/25   Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
BLAKE LIVELY,                             Plaintiff,
                                                           :
                                 -v-
                                                           :
                                                               24-cv-10049
                                                                              CASE MANAGEMENT PLAN
WAYFARER STUDIOS LLC, JUSTIN                               :
BALDONI, JAMEY HEATH, STEVE                                                   AND SCHEDULING ORDER
SAROWITZ, IT ENDS WITH US MOVIE                            :
LLC, MELISSA NATHAN, THE AGENCY
GORUP PR LLC, and JENNIFER ABEL,
                                         Defendants.       :
---------------------------------------------------------- : 25-cv-449
WAYFARER STUDIOS LLC, JUSTIN                               :
BALDONI, JAMEY HEATH, IT ENDS             Plaintiffs,      :
WITH US MOVIE LLC, MELISSA
NATHAN, and JENNIFER ABEL,                                 : 25-cv-00449
                                   -v-                     :
BLAKE LIVELY, RYAN REYNOLDS,
LESLIE SLOANE, and VISION PR, INC.        Defendants.
---------------------------------------------------------- X
 LEWIS J. LIMAN, United States District Judge:
       This Civil Case Management Plan and Scheduling Order is submitted by the parties in
accordance with Federal Rule of Civil Procedure 26(f)(3):

1.                                                   X to conducting all further proceedings
        All parties [consent _____ / do not consent _____]
        before a United States Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c).
        The parties are free to withhold consent without adverse substantive consequences. [If all
        parties consent, the remaining paragraphs need not be completed.]

2.                        X / have not _____] conferred pursuant to Federal Rule of Civil
        The parties [have ____
        Procedure 26(f).

3.                                        X engaged in settlement discussions.
        The parties [have ____ / have not _____]

4.      Any motion to amend or to join additional parties shall be filed no later than
        _________________________.
         April 18, 2025                   [Absent exceptional circumstances, a date not more than
        thirty (30) days following the initial pretrial conference.] Note: Pursuant to Paragraph
        3(C) of the Court’s Individual Practices in Civil Cases, the Court will deny a motion to
        dismiss as moot, without prior notice to the parties, if a plaintiff amends its pleading
        without objection from the defendant. The moving party may then (a) file an answer or
        (b) file a new motion to dismiss. In the event the moving party wishes to rely on its
        initially filed memorandum of law, the party may so indicate in its motion to dismiss the
        amended pleading and need not file the memorandum of law again.

        Pursuant to Paragraph 2(K) of the Court’s Individual Practices in Civil Cases, parties
        may extend the deadlines set forth in Local Civil Rule 6.1 by an agreed-upon schedule,
        which shall govern as long as it is disclosed to the Court in a letter accompanying the
        initial motion. The parties should discuss any anticipated motion in advance of the
        Initial Pretrial Conference and should come prepared to discuss a proposed briefing
        schedule for any anticipated motion.
      Case 1:25-cv-00449-LJL          Document 51        Filed 02/03/25      Page 2 of 4




5.    Initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure shall
                                   February 13, 2025 February 18, 2025
      be completed no later than _________________________.            [Absent exceptional
      circumstances, a date not more than fourteen (14) days following the initial pretrial
      conference.]
                                                                       with substantial completion of document
                                                                       production by July 1, 2025
6.    All fact discovery is to be completed no later than __________________________.
                                                          August 14, 2025                  [A
      date not more than one hundred twenty (120) days following the initial pretrial
      conference, unless the Court finds that the case presents unique complexities or other
      exceptional circumstances.]

7.    The parties are to conduct discovery in accordance with the Federal Rules of Civil
      Procedure and the Local Rules of the Southern District of New York. The following
      interim deadlines may be extended by the parties on consent without application to the
      Court, provided that the parties meet the deadline for completing fact discovery set forth
      in Paragraph 6 above.
                                                                                                March 14, 2025
      a.     Initial requests for production of documents shall be served by ______________.
                                                                             March 5, 2025


      b.     Interrogatories pursuant to Rule 33.3(a) of the Local Rules of the Southern
             District of New York shall be served by _____________________.
                                                       March 5, 2025 March 14, 2025 [Absent
             exceptional circumstances, a date not more than thirty (30) days following the
             initial pretrial conference.] No Rule 33.3(a) interrogatories need to be served with
             respect to disclosures automatically required by Federal Rule of Civil Procedure
             26(a).

      c.     Unless otherwise ordered by the Court, contention interrogatories should be
             served consistent with Rule 33.3(c) of the Local Rules of the Southern District of
             New York.

      d.     Depositions shall be completed by _______________.
                                               August 14, 2025


      e.     Requests to Admit shall be served no later than _______________.
                                                             August 14, 2025


8.    All expert discovery, including disclosures, reports, rebuttal reports, production of
      underlying documents, and depositions shall be completed by _____________________.
                                                                       October 15, 2025

      [Absent exceptional circumstances, a date forty-five (45) days from the completion of fact
      discovery.]

9.    All discovery shall be completed no later than _______________.
                                                     October 15, 2025


10.   The proposed joint pretrial order shall be submitted on ECF in accordance with the
      Court’s Individual Practices in Civil Cases and Federal Rule of Civil Procedure 26(a)(3)
      no later than ____________________.
                    January 23, 2026


11.   A post-discovery status conference shall be held on: ___________________
                                                              October 21, 2025        at _______
                                                                                         10 am   .
      A joint letter updating the Court on the status of the case shall be filed on ECF by one

                                               2
        Case 1:25-cv-00449-LJL                 Document 51             Filed 02/03/25           Page 3 of 4




       week prior to the status conference. The letter must be no more than three (3) single
       spaced pages and should include the following information in separate paragraphs:

                  (1) all existing deadlines, due dates, and/or cut-off dates;

                  (2) a brief description of any outstanding motions;

                  (3) a brief description of the status of discovery and of any additional discovery
                                                        _________________________________
                      that remains to be completed;

                  (4) the status of settlement discussions;

                  (5) the anticipated length of trial and whether the case is to be tried to a jury;

                  (6) whether the parties anticipate filing motions for summary judgment; and any
                      other issue that the parties would like to address at the pretrial conference or
                      any other information that the parties believe may assist the Court.

12.    Any motion for summary judgment must be filed no later than _______________.
                                                                      November 5, 2025
       [Absent exceptional circumstances, a date fourteen (14) days from the completion of all
       discovery.]

13.    This case [is ____
                     X    / is not _____] to be tried to a jury.

14.    The parties have conferred and their present best estimate of the length of trial is
       _______________.
       2 weeks (Lively/Reynolds Parties) 2 weeks (Sloane/Vision PR Parties)

         6 weeks (Wayfarer Parties)


15.    Counsel for the parties propose the following alternative dispute resolution mechanism
       for this case:

            a. _____ Referral to a Magistrate Judge for settlement discussions.

            b. _____
               X     Referral to the Southern District’s Mediation Program.

            c. _____ Retention of a private mediator.

The use of any alternative dispute resolution mechanism does not stay or modify any date in this
Order.

16.    Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
       Federal Rule of Civil Procedure 26(f)(3), are set forth below.
       ________________________________________________________________________
       1. The parties will be prepared to address the letter motion regarding pretrial publicity and attorney conduct, and
       ________________________________________________________________________
       issues related thereto. See 24-cv-10049, Dkt. No. 45 (referencing Dkt. Nos. 17, 27, 43).
       ________________________________________________________________________
       2. The parties will be prepared to address the status of a proposed FRCP 26(c) protective order and FRE 502(d) order.
       ________________________________________________________________________
       3. Counsel for the Wayfarer Parties indicated that they would like to discuss issues related to depositions,
         including scheduling.



                                                           3
          Case 1:25-cv-00449-LJL     Document 51     Filed 02/03/25         Page 4 of 4



                                               _________________________________
                                               Liner Freedman Taitelman + Cooley: Bryan Freedman
Counsel for the Parties:
                                               _________________________________
                                               Miles Cooley, Theresa Troupson, Summer Benson,

_________________________________
Michael Gottlieb, Kristin Bender
                                               _________________________________
                                               Jason Sunshine. Meister Seeling & Fein PLLC:
_________________________________
Willkie Farr & Gallagher LLP
                                               _________________________________
                                               Mitch Schuster, Kevin Fritz, Amit Schertzer
_________________________________
Esra Hudson, Stephanie Roeser
_________________________________
Manatt, Phelps & Phillips LLP

                                               _________________________________
                                               Sigrid McCawley, Andrew Villacastin, Lindsey Ruff

                                               Boies Schiller Flexner LLP
 Dated:          February 3, 2025
                __________________             _________________________________
                New York, New York


                                                _________________________________
                                                             LEWIS J. LIMAN
                                                         United States District Judge




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